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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA                                               NJC

                              CASE NO.: 13-24320-CIV-ALTONAGA
                                                                                            Oct 27, 2020
      UNITED STATES OF AMERICA,
           ex rel. PHILLIP CHEN, MD, PhD, et al.,
                                                                                                          MIAMI



            Plaintiffs,
                                                                       FILED UNDER SEAL
            v.                                                            PURSUANT TO
                                                                       31 U.S.C. § 3730 (b)(2)
      UNIVERSITY OF MIAMI, et al.,

            Defendants.
                                                          /

                                        NOTICE OF FILING

          Pursuant to the Court’s February 4, 2014 Sealed Order requiring the United States to file

  a status report with the Court, the United States hereby gives notice of filing of its Status Report

  filed in the related action, U.S. ex. rel. Lord v. University of Miami, Case No. 13-22500-CIV-

  ALTONAGA on October 26, 2020. 1




  1
    Because the status report contains information that is subject to a seal pursuant to 31 U.S.C.
  § 3730(b)(2) and information that has not yet been disclosed to the Relators in this matter, the
  United States is filing this status report in camera and is not serving a copy on the Relators.
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  Dated: October 26, 2020            Respectfully Submitted,

                                     JEFFREY BOSSERT CLARK
                                     ACTING ASSISTANT ATTORNEY GENERAL

                                     ARIANA FAJARDO ORSHAN
                                     UNITED STATES ATTORNEY

                                     ____s/ Jessica R. Sievert_______________
                                     JESSICA R. SIEVERT
                                     Fla. Bar. No. 55839
                                     ASSISTANT UNITED STATES ATTORNEY
                                     99 N.E. 4th Street, Suite 300
                                     Miami, Florida 33132
                                     Tel: 305.961.9335
                                     E-mail: Jessica.Sievert@usdoj.gov


                                     JAMIE ANN YAVELBERG
                                     PATRICIA L. HANOWER
                                     JEFFREY A. MCSORLEY
                                     Attorneys, U.S. Department of Justice
                                     Civil Division
                                     Post Office Box 261
                                     Ben Franklin Station
                                     Washington, D.C. 20044
                                     Tel: (202) 353-1292
                                     E-mail: jeffrey.a.mcsorley@usdoj.gov


                                     Counsel for the United States
